                        UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION
      In re:                                                       (Chapter 7)
 Pickering, Chrystal

                                                                   Hon. Mark A. Randon
     Debtor(s).
                                                                   18-52031-MAR
______________________________________/

                                     AFFIDAVIT TO EMPLOY TRUSTEE'S FIRM



     Douglas S. Ellmann declares:

     1. I am the duly appointed Trustee in this matter and I and my law firm will serve as
    attorney in the estate.

     2. Neither I, nor any firm with which I am associated, insofar as I have been able to
           . has any connection with the above-named estate, its creditors, or any other party
    ascertain,
    in interest, or their respective attorneys and accountants, or the US Trustee's office or its
    employees unless stated as follows:

     3. Neither I nor any firm with which I am associated, insofar as I have been able to
    ascertain, holds or represents any interest adverse to that of the estate or the debtor in
    possession in this matter, if any, upon which I am to be engaged.

     4. Based on the foregoing, I believe that I and any firm with which I may be engaged is a
    disinterested person within the meaning of Sections 101(14) and 327 of the Bankruptcy
    Code.


    Under penalty of perjury, the undersigned attests that the above information is true and
    accurate.


     /s/ Douglas S. Ellmann
     DOUGLAS S. ELLMANN
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    Ann Arbor, MI 48103
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    Dated: 6/4/2019




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